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                            IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                     PHILADELPHIA DIVISION


      In re: SASHA L. TAYLOR                            )
              Debtor(s)                                 )
                                                        )   CHAPTER 13
      SANTANDER CONSUMER USA INC.                       )
           Moving Party                                 )   Case No.: 20-11886 (AMC)
                                                        )
         v.                                             )
                                                        )   Hearing Date: 9-1-20 at 2:00 PM
      SASHA L. TAYLOR                                   )
          Respondent(s)                                 )   11 U.S.C. 362
                                                        )
      WILLIAM C. MILLER                                 )
           Trustee                                      )
                                                        )
                                                        )
                                                        )
                       MOTION FOR RELIEF FROM THE AUTOMATIC STAY

      TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

              Comes now Santander Consumer USA, Inc. (“Santander”) filing this its Motion For
      Relief From The Automatic Stay (“Motion”), and in support thereof, would respectfully show:

              1. That on April 1, 2020, Sasha L. Taylor filed a voluntary petition under Chapter 13 of
      the Bankruptcy Code.

              2. This Court has jurisdiction of the Motion by virtue of 11 U.S.C. 105, 361, 362, and
      28 U.S.C. 157 and 1334.
              3. On June 16, 2018, the Debtor entered into a retail installment contract for the purchase
      of a 2014 Nissan Pathfinder bearing vehicle identification number 5N1AR2MM6EC608870.
      The contract was assigned to Santander Consumer USA Inc. and the Debtor became indebted to
      Santander in accordance with the terms of same. Santander Consumer USA Inc. is designated as
      first lien holder on the title to the vehicle and holds a first purchase money security interest in the
      vehicle. A true copy of the contract and title inquiry to the vehicle are annexed hereto as
      Exhibits A and B.


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             4. As of July 27, 2020, the Debtor’s account with Santander had a net loan balance of
      $22,851.24.
             5. According to the July 2020 NADA Official Used Car Guide, the vehicle has a current
      retail value of $12,275.00.
             6. The Debtor’s account is past due from January 31, 2020 to July 31, 2020 with arrears
      in the amount of $4,116.29.
             7. Santander Consumer USA Inc. alleges that the automatic stay should be lifted for
      cause under 11 U.S.C. 362(d)(1) in that Santander lacks adequate protection of its interest in the
      vehicle as evidenced by the following:
                     (a) The Debtor is failing to make payments to Santander and is failing to provide
             Santander with adequate protection.
                     (b) Santander has been unable to verify that the vehicle is insured; if the Debtor
             contests this Motion, she must provide Santander with proof of valid, current insurance
             by the date of the hearing.


             WHEREFORE PREMISES CONSIDERED, Santander Consumer USA Inc. respectfully
      requests that upon final hearing of this Motion, (1) the automatic stay will be terminated as to
      Santander to permit Santander to seek its statutory and other available remedies; (2) that the stay
      terminate upon entry of this Order pursuant to the authority granted by Fed.R.Bank.P., Rule
      4001(a)(3) and (3) Santander be granted such other and further relief as is just.




      Respectfully submitted,

      /s/ William E. Craig
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